                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                             Plaintiff,

               v.                                          Case No. 07-CR-181

ARNITA COUCH, et. al.,

                             Defendants.



                                            ORDER


       On October 15, 2007, Arnita Couch (“Couch”) filed a motion to suppress statements,

(Docket No. 97), in addition to two other pretrial motions, (Docket Nos. 95, 96). From her motion

to suppress statements, it appears that an evidentiary hearing is necessary to resolve this motion.

The court is provided with absolutely no factual basis upon which to resolve Couch’s motion.

However, Couch does not request a hearing and has failed to comply with Criminal L.R. 12.3.

Therefore, within three days of this order, Couch shall either resubmit her motion in compliance

with Criminal L.R. 12.3 or file a letter wherein she explicitly states that she is not requesting an

evidentiary hearing.

       SO ORDERED.

               Dated at Milwaukee, Wisconsin this 17th day of October, 2007.


                                                    s/AARON E. GOODSTEIN
                                                    U.S. Magistrate Judge




     Case 2:07-cr-00181-JPS        Filed 10/17/07      Page 1 of 1     Document 99
